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               UNITED STATES DISTRICT COURT
           FOR THE NORTHERN DISTRICT OF GEORGIA
                     ATLANTA DIVISION

JAMESON TAYLOR ANDERSON,            )
ROBERT DEAN ANDERSON, and           )
ROGER MALDONADO,                    ) CONSOLIDATED CASES
                                    ) PURSUANT TO FED. R. CIV. P. 42
                Plaintiffs,         )
                                    )
v.                                  ) Civil Action No.: 1:19-cv-05582-VMC
                                    )
USI INSURANCE SERVICES LLC,         )
                                    )
                Defendant.          )


USI INSURANCE SERVICES LLC,         )
                                    )
                Plaintiff,          )
                                    )
v.                                  )
                                    ) Civil Action No.: 1:20-cv-02490-VMC
SOUTHEAST SERIES OF                 )
LOCKTON COMPANIES, LLC,             )
                                    )
                Defendant.          )
                                    )

      SOUTHEAST SERIES OF LOCKTON COMPANIES, LLC’S
            CONSOLIDATED MOTIONS IN LIMINE
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                             I.     INTRODUCTION

      Throughout this case, Plaintiff, USI Insurance Services, LLC (“USI”), has

attempted to elicit improper, unduly prejudicial, and needlessly cumulative evidence

in an effort to demonstrate that Taylor Anderson, Dean Anderson, and Roger

Maldonado (the “Former Employees”) have colluded with Defendant Southeast

Series of Lockton Companies, LLC (“Lockton”) purely to harm USI. Indeed, USI’s

claims against Lockton are largely contingent on the outcome of USI’s claims

against the Former Employees. Thus, with few exceptions, where USI has presented

prejudicial evidence against the Former Employees in this consolidated trial, it will

likely prejudice Lockton, and vice versa.        Accordingly, Lockton presents the

following Motions in Limine for the Court’s consideration and joins the Former

Employees’ Motions in Limine, to the extent that they are applicable to the claims

against Lockton.

                           II.    LEGAL STANDARD

      Motions in limine are vital tools to exclude prejudicial, irrelevant, or otherwise

inadmissible evidence before trial to avert unnecessary confusion, delays, or the

introduction of unfairly prejudicial material. United States v. Roland, No. 1:14-CR-

291-SCJ, 2016 U.S. Dist. LEXIS 196981, at *1 (N.D. Ga. June 1, 2016); Benjamin

v. Experian Info. Sols., Inc., Civil Action No. 1:20-cv-2466-RWS, 2022 U.S. Dist.


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LEXIS 97950, at *2 (N.D. Ga. Mar. 25, 2022) (motions in limine appropriate to

exclude unduly prejudicial evidence). “The district court has wide discretion in

determining the relevance of evidence produced at tria”| Boyd v. Ala. Dep’t of Corr.,

296 F. App’x 907, 908 (11th Cir. 2008).

                            III.   MOTIONS IN LIMINE

      1. The Court Should Exclude Evidence on Issues That Have Already
         Been Established.
      As to the Former Employees and as explained in their Motions in Limine, only

limited issues remain to be tried in the 2019 Case. 1 As to the 2020 Case, the jury

must consider USI’s and Lockton’s competing claims for tortious interference under

Georgia law, as well as whether attorney’s fees and punitive damages are

appropriate.

      First, despite the number of issues that have been resolved by the Court at

summary judgment relating to the claims against the Former Employees, USI’s

submissions in the Proposed Pretrial Order show it intends to inundate the trial with

evidence far exceeding the issues to be tried. This evidence includes irrelevant

deposition testimony and documents related to Dean Anderson’s work for clients

following their transfer to Lockton, emails sent by Rikin Patel, a former USI


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        Throughout this brief, Case No. 1:19-cv-05582-VMC is referenced and cited
as the “2019 Case,” and Case No. 1:20-cv-02490-VMC is cited as the “2020 Case.”

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employee, actions taken by The Former Employees prior to their resignation from

USI, and “competitive” actions taken by Dean Anderson and Taylor Anderson

within 60 days after they resigned from USI and joined Lockton.

      Because the vast majority of this evidence would be offered to prove issues

of breach that have already been decided, the Court should exclude evidence that is

not material to the sole question of solicitation as irrelevant. Fed. R. Evid. 402.

USI’s sole purpose in offering such evidence would be to inflame the jury with

cumulative evidence of alleged wrongdoing that should be excluded pursuant to Fed.

R. Evid. 403. Courts routinely grant motions in limine to exclude evidence on issues

already decided on summary judgment. See GPI Int’l Ltd. v. IBC Creative LLC,

1:07-CV-1540-ODE, 2009 WL 10671357, at *2 (N.D. Ga. Sept. 16, 2009) (granting

motion in limine to exclude evidence related to “the legal conclusions [the Court]

made in its partial summary judgment order”). This is because presenting evidence

on issues already decided has no probative value and merely wastes time, rendering

it inadmissible per Fed. R. Evid. 402 and 403. See generally Anderson v. Brown

Indus., 4:11-CV-0225-HLM, 2014 WL 12521732, at *5-9 (N.D. Ga. Mar. 14, 2014).

      The same conclusion is warranted here. The jury will already hear that Dean

and Taylor Anderson breached their 60-day notice provisions, duties of loyalty, and

fiduciary duties to USI. Allowing USI to re-litigate issues already decided is


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unnecessary, wasteful of the Court’s and the parties’ time and resources, and will

unfairly prejudice the Former Employees and Lockton and confuse the issues. There

is no need to waste the jury’s time by entering all the evidence at trial that caused

the Court to reach its findings of breach. Accordingly, USI should not be permitted

to present evidence on issues that have already been determined in its favor per

Federal Rules of Evidence 402 and 403.

      Second, the Court should also exclude evidence on the claims that were

decided against USI on summary judgment because those were resolved by the

Court. Morales v. N.Y. State Dep’t of Labor, 530 F. App’x 13, 15 (2d Cir. 2013)

(affirming exclusion of evidence related to claim dismissed on summary judgment);

Foley v. Town of Marlborough, 3:19-CV-01481 (VAB), 2023 WL 122040, at *3-4

(D. Conn. Jan. 6, 2023) (granting motion in limine to bar evidence supporting claim

already resolved at summary judgment).        Presentation of evidence related to

dismissed claims would be irrelevant, waste time and cause undue delay, warranting

its exclusion under Fed. R. Evid. 401 and 403. Consequently, the Court should enter

an order barring USI, its witnesses, and its counsel from presenting evidence or

argument on previously dismissed claims. See Fontana v. City of Fed. Way, No.

C11-998 RAJ, 2014 WL 202104, at *1 (W.D. Wash. Jan. 17, 2014) (barring any

reference to plaintiff’s dismissed claims pursuant to Fed. R. Evid 401 and 403).


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      2. USI Cannot Present Evidence and Argument That Clients Moved From
         USI to Lockton Because of Work Performed After Clients Moved Their
         Business
      The Court determined on summary judgment that Dean Anderson violated

two of the non-compete covenants in his agreement with USI. Thus, breach has been

established against Dean Anderson on Counts II and III, and the sole issues for trial

are on the questions of causation and damages and the related claim against Lockton.

(2020 Case, Doc. 206 at 18). USI may attempt to introduce evidence that Dean

Anderson provided certain services to clients after they moved to Lockton in an

attempt to prove that Dean Anderson’s services caused the client to leave USI. This

evidence should be excluded from trial for two reasons.

      First, the Court has already determined as a matter of law on summary

judgment that Dean Anderson violated the covenants at Counts II and III of the

Amended Counterclaim. (2019 Case, Doc. 286 at 30-31, 34). Thus, evidence of

Dean Anderson providing services is not relevant to any issue at trial related to

liability. Fed. R. Evid. 402. Further, any such evidence would be improperly

cumulative and prejudicial. Fed. R. Evid. 403.

      Second, evidence regarding Dean Anderson’s providing services to clients

after they moved to Lockton cannot be probative on the issue of damages: i.e., why

the client moved to Lockton. Evidence of conduct by Dean Anderson that occurred



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after a client moved to Lockton cannot be a “cause” of something (the client moving

to Lockton) that has already happened. North Carolina v. Fed. Energy Reg.

Comm’n, 112 F.3d 1175, 1188 (D.C. Cir. 1997) (“Obviously, a subsequent event

cannot be the cause of something that is already in existence.”); Hester v. Paul Pub.

Charter Sch., CV 21-3166 (JEB), 2023 WL 355913, at *8 (D.D.C. Jan. 23, 2023)

(“A subsequent event cannot be the cause of a decision made previously.”); Contl.

Ins. Co. v. Chemoil Corp., C 88 0085 TEH, 1988 WL 156750, at *2 (N.D. Cal. June

2, 1988) (“As a matter of logic, however, if a prior event occurs which is sufficient

to cause the entire harm, a subsequent event cannot be a cause of the harm at all,

because the harm is already done.”). Thus, evidence of Dean Anderson’s subsequent

conduct is not relevant, and cannot be offered, to explain the prior decision of the

client to move to Lockton. Fed. R. Evid. 402.

      3. USI Cannot Inquire of or Comment on Communications Protected by
         Attorney Client Privilege
      USI has repeatedly inquired and sought testimony about communications

between the Former Employees and their counsel, and likewise, communications

between Lockton employees and its counsel.           Presumably, USI seeks such

information to argue that a party seeking an attorney’s advice must be evidence that

they have done something wrong. Because such an implication is improper and at




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direct odds with the attorney-client privilege and the rationale behind it, the Court

should exclude such evidence.

      The attorney-client privilege protects admissions and communications

between the attorney, in his or her representational capacity, and the client, made for

purposes of securing legal advice or assistance. Lazar v. Mauney, 192 F.R.D. 324,

328 (N.D. Ga. 2000); see also, In re Grand Jury Proceedings 88–9 (MIA), 899 F.2d

1039, 1042 (11th Cir. 1990) (quoting United States v. McConney, 728 F.2d 1195,

1202 (9th Cir. 1984)). As the U.S. Supreme Court has held, the attorney-client

privilege is “the oldest of the privileges for confidential communications known to

common law,” and is based on the public purpose to encourage full and frank

communication between attorneys and their clients and thereby promote broader

public interests in the observance of law and administration of justice. Upjohn Co.

v. United States, 449 U.S. 383, 389 (1981). By statute, Georgia excludes attorney-

client communications from evidentiary use on public policy grounds. 2 O.C.G.A. §

24-5-501(a)(2); see also Shipes v. BIC Corp., 154 F.R.D. 301, 304 (M.D. Ga. 1994)

(applying Georgia law); see also Dover v. Harrell, 58 Ga. 572, 573 (1877) (“The


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         Because this case is a diversity action, Georgia law applies to determine
whether the attorney-client privilege protects the communications at issue. Federal
Rule of Evidence 501 provides that, in civil proceedings to which state law applies,
the privilege of a witness or person shall be determined by state law. Fed. R. Evid.
501.

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statutory privileges of counsel are conferred for the benefit of their clients and are

sacred.”). Once attorney-client relationship has been duly established between

attorney and his client, legal advice confidentially communicated to client’s

authorized agents is by statute protected from discovery, and testimony concerning

the content of such advice is inadmissible on grounds of public policy. Southern

Guar. Ins. Co. of Georgia v. Ash, 192 Ga. App. 24, 27 (1989); Shipes, 154 F.R.D. at

304 (“The attorney client privilege is absolute, prohibiting discovery of the

privileged materials regardless of need.”). Accordingly, courts prohibit questioning

whether a witness has conferred with his attorneys concerning the legal effect of a

document, even when asked for purposes of showing the witness’ awareness of the

document’s contents, since subsequent questioning concerning the nature of

conversations with an attorney is improper. Morris v. Courts, 59 Ga. App. 666, 688

(1939).

      USI has repeatedly asked questions seeking to determine communications

between the Former Employees and their attorney, Mr. Hall, including those where

Lockton’s corporate counsel (“Lockton’s counsel”) was present. (See, e.g., 2020

Case, Doc. 93-1, T. Anderson Dep. at 158; Doc. 92-1, R. Maldonado Dep. at 118-

121; Doc. 103-1, M. Sharma Dep. at 170, 174-75).




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      All such communications are privileged.3 Therefore, USI should be precluded

from any questioning regarding contents of these communications, as such

testimony is inadmissible. Southern Guar. Ins. Co. of Georgia v. Ash, 192 Ga. App.

24, 27 (1989). Neither Lockton’s corporate representative, Manoj Sharma, nor the

Former Employees should be questioned regarding conferring with counsel about

agreements with USI.

      Moreover, federal courts of appeal consistently hold it is not appropriate for

counsel to comment upon or for the jury to be permitted to draw an adverse inference

from a party’s rightful choice not to introduce privileged documents, testimony, or

information at trial. See Knorr-Bremse Systeme Fuer Nutzfahrzeuge GmbH v. Dana

Corp., 383 F.3d 1337, 1341 (Fed. Cir. 2004) (no adverse inference shall arise from

invocation of lawful privilege); Nabisco, Inc. v. PF Brands, Inc., 191 F.3d 208, 225-

26 (2nd Cir. 1999) (“This privilege is designed to encourage persons to seek legal

advice, and lawyers to give candid advice, all without adverse effect.”), overruled


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         The presence of Lockton’s counsel during such communications does not
defeat the privilege. The joint defense doctrine serves to protect the confidentiality
of communications passing from one party to the attorney for another party where a
joint defense effort or strategy has been decided upon and undertaken by the parties
and their respective counsel. U.S. v. Almeida, 341 F.3d 1318, 1324 (11th Cir. 2003);
see also United States v. Schwimmer, 892 F.2d 237, 244 (2d Cir. 1989). Here,
Lockton and the Former Employees are both defendants in claims by USI over the
resignations of the Former Employees from USI, and it is undisputed that such
discussions were covered by the joint defense privilege.

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on other grounds by Moseley v. V Secret Catalogue, Inc., 537 U.S. 418 (2003);

Lucent Info. Mgmt., Inc. v. Lucent Techs., Inc., 186 F.3d 311, 318 (3d Cir. 1999)

(“[W]e will not draw an adverse inference from the raising of privilege.”); Doe ex

rel. Rudy-Glanzer v. Glanzer, 232 F.3d 1258, 1265 (9th Cir. 2000) (allowing the

factfinder to draw “an adverse inference from an assertion of one’s privilege not to

reveal information is too high a price to pay”); Parker v. Prudential Ins. Co., 900

F.2d 772, 775 (4th Cir. 1990) (“[A]n individual in a free society should be

encouraged to consult with his attorney . . . . To protect that interest, a client

asserting privilege should not face a negative inference about the substance of the

information sought”) (quotations omitted); accord Datapoint Corp. v. Picturetel

Corp., 215 F.3d 1344, 1344 (Fed. Cir. 1999) (“A jury should not be invited or

instructed to draw a negative inference from a proper invocation of the attorney-

client privilege.”). The same principle applies to prohibit an adverse inference from

proper assertion of work-product protection. See In re Seagate Techs. LLC, 497 F.3d

1360, 1369-70 (Fed. Cir. 2007) (invoking the attorney-client privilege or work

product protection does not give rise to an adverse inference); See also Knorr-

Bremse, 338 F.3d at 1344 (same).

      Courts in the Eleventh Circuit have also acknowledged that no adverse

inference may be drawn from the invocation of the attorney-client privilege. In re


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Terazosin Hydrochloride Antitrust Litigation, 335 F. Supp. 2d 1336, 1365 (S.D. Fla.

2004) (invocation of attorney-client privilege cannot give rise to a negative

inference) (citing Knorr-Bremse, 383 F.3d at 1344); Lighthouse List Co., LLC v.

Cross Hatch Ventures Corp., No. 13-60524-CIV, 2014 WL 11531800, at *9 (S.D.

Fla. June 12, 2014), report and recommendation approved in part, No. 13-60524-

CIV, 2014 WL 11531638 (S.D. Fla. July 15, 2014).

      Thus, USI should not be permitted to make any comment, argument, or

implication that the jury may draw any adverse inference premised upon the

existence or the invocation of the privilege by the Former Employees or Lockton’s

corporate representative. Specifically, USI should be prohibited from making any

arguments that Former Employees were encouraged to break their agreements with

USI by counsel based upon Lockton’s and the Former Employees’ invocation of the

privilege.

      Further, even if USI were to argue that there is some limited relevance to the

fact that there were privileged discussions, any probative value would be

substantially outweighed by the danger of unfair prejudice, confusion of the issues,

or misleading the jury. See Fed. R. Evid. 403. This would be entirely inconsistent

with the basis for the attorney-client privilege—namely that all persons are entitled

to full and frank communication with their attorneys. See Upjohn Co, 449 U.S. at


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389. Thus, the Court should prohibit USI from asking questions designed to invoke

the attorney-client privilege or make any arguments or comments seeking to create

a negative inference from the fact that counsel was retained.

      4. USI Cannot Present Evidence or Argument that Providing the Former
         Employees an Attorney and Indemnifying Them Are “Wrongful”
         Under Georgia Law

      To establish a claim for tortious interference, USI will need to provide

evidence that Lockton engaged in “improper action or wrongful conduct,” which is

defined as an act which is “wrongful in itself.” Sommers Co. v. Moore, 275 Ga.

App. 604, 606 (2005).

      The essential elements of tortious interference in its various forms requires

proof that the defendant: (1) engaged in improper action or wrongful conduct

without privilege; (2) acted purposely and with malice with the intent to injure; (3)

induced a breach of contractual obligations; and (4) the defendant's tortious conduct

proximately caused damage to the plaintiff. Kirkland v. Tamplin, 285 Ga. App. 241,

243 (2007). The first element, requiring “improper action or wrongful conduct,”

demands plaintiff “must show more than that the defendant simply persuaded a

person to break a contract.” Kirkland, 285 Ga. App. at 243 (citations and quotation

marks omitted); see also Stefano Arts v. Sui, 301 Ga. App. 857, 862 (2010) (citing

Kirkland, 285 Ga. App. at 244); United States v. Blankenship, 382 F.3d 1110, 1133



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(11th Cir. 2004) (“It is not illegal for a party to breach a contract; a contract gives a

party two equally viable options (perform or pay compensation), between which it

is generally at liberty to choose.”). Rather, because the plaintiff must show the

defendant performed an action that is “wrongful in itself,” it must prove conduct that

“generally involves predatory tactics such as physical violence, fraud or

misrepresentation, defamation, use of confidential information, abusive civil suits,

and unwarranted criminal prosecutions.” Sommers, 275 Ga. App. at 606 (2005)

(finding no evidence that a lease was “fraudulent” when it was “motivated by

legitimate business interests”); see also Kirkland, 285 Ga. App. at 244 (“Absent

evidence of fraud, [the plaintiff] could not show that [the defendant’s] actions were

improper, an essential element of an action for tortious interference.”).

      The essence of this well-established law is that “wrongful” means that the

conduct at issue would somehow be independently tortious. See Sommers Co., 275

Ga. App. at 606; Kirkland, 285 Ga. App. at 244. Conversely, the invocation of a

legal right cannot be considered wrongfully tortious. Cf. Cableview Comm’ns of

Jacksonville, Inc. v. Time Warner Cable Se., LLC, 901 F.3d 1294, 1306 (11th Cir.

2018) (interpreting similar Florida law to find that a party’s “right to withhold its

consent and assert its indemnity claim under contract” could not amount to an

“improper purpose” to establish tortious interference claim).


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      Throughout this litigation, USI has argued that Lockton hiring counsel for the

Former Employees and providing them indemnification can be evidence of wrongful

conduct. (See 2020 Case, Doc. 121 at 27–30). These actions, however, are not

wrongful in themselves, and cannot be considered an improper action as a matter of

law. Thus, USI should not be permitted to provide evidence or argue that these legal

actions amount to wrongful conduct.

      Specifically, USI should not be permitted to argue or produce any evidence

suggesting that Lockton’s act of obtaining counsel for the Former Employees is

“wrongful in itself.” It is axiomatic that the Former Employees have a right to obtain

independent legal counsel to appear on their behalf. See Parker v. Prudential Ins.

Co., 900 F.2d 772, 775 (4th Cir. 1990) (“[A]n individual in a free society should be

encouraged to consult with his attorney[.]”); In re Kathy P., 25 Cal. 3d 91, 102

(1979) (“Unquestionably [the defendant] had a right to counsel retained at her own

expense. Due process assures that right even when a proceeding is wholly civil.”);

cf. United States v. Romero, 849 F.2d 812, 819 (3d Cir. 1988) (“[T]he most important

decision a defendant makes in shaping his defense is his selection of an attorney.”).

Thus, the Court should exclude any argument that asserts or suggests that Lockton

has acted “wrongfully” by providing counsel to the Former Employees.




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      Similarly, providing indemnification cannot be deemed wrongful or tortious.

See Hanna Paper Recycling, Inc. v. ZBR Publ’ns, Inc., 1 Mass. L. Rptr. 587, 1994

WL 879724, at *3–4 (Mass. Sup. Ct. Feb. 3, 1994) (finding that defendants’ offer of

indemnity did not amount to wrongful conduct under the standard in the Restatement

of Torts (Second)). Indemnity is provided every day and is akin to insurance—the

very business at issue in this case. USI should not be permitted to argue or present

evidence so that the jury can find that providing indemnification is “wrongful.”

      Even if the evidence of Lockton providing counsel and indemnifying the

Former Employees were permitted, allowing USI to argue or suggest through

needlessly cumulative evidence that Lockton’s act of providing counsel or indemnity

is “wrongful” would confuse the issues and mislead the jury. Given the evidence

that providing counsel and indemnification is not wrongful in itself, there is simply

no probative value to these arguments, and any potential probative value is

substantially outweighed by the concern of misleading the jury and improperly

prejudicing Lockton and the Former Employees. See Fed. R. Evid. 403. Thus, the

Court should prohibit USI from offering evidence or argument that Lockton’s act of

providing counsel or indemnification to the Former Employees is a wrongful act or

amounts to tortious interference under Georgia law.




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         5. USI Cannot Present Argument or Evidence Implying the Taking, Use,
            or Misappropriation of Confidential Information by the Former
            Employees

         At various times in this litigation, USI has suggested that the Former

Employees and other former USI employees, specifically Rikin Patel, may have

possessed USI’s confidential information and implied that Patel and others may have

used such information after resigning from USI and joining Lockton in December

2019. Indeed, USI designated significant deposition testimony from Rikin Patel

concerning emails and attachments he sent to his personal email address while

working at USI. (See, e.g., 2020 Case, Doc. 96-1, Patel Dep. at 171–72). However,

USI has never pleaded a claim to which such evidence or argument would be

relevant, and there is no evidence of any taking of confidential information by any

party in this matter. (2019 Case, Docs. 5, 134; 2020 Case, Doc. 1); see Fed. R. Evid.

401.     USI has no claim against the Former Employees for conversion of its

intellectual property, misappropriation of confidential information, or trade secret

theft.    Similarly, USI has never pleaded that Lockton, in hiring the Former

Employees, misappropriated any of USI’s confidential information. Thus, the Court

should exclude all such evidence and argument from trial. See Landsman v. City of

Vero Beach, No. 13-14375-CIV-GRAHAM/LYNCH, 2015 WL 10960961, at *2

(S.D. Fla. Oct. 21, 2015) (excluding evidence of police training budget where no



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claim for negligent training was pleaded in amended complaint); Broadcom Corp.

v. Emulex Corp., No. SACV 09-01058-JVS (ANx), 2011 WL 13130705, at *6 (C.D.

Cal. Aug. 20, 2011) (excluding evidence where party offered “no claim or defense

which would make misappropriation relevant”); Nat’l Corp. Tax Credit Fund VII v.

Busching & GC Corp., No 3:04-CV-559BN, 2006 WL 1364556, at *1 (S.D. Miss.

May 16, 2006) (excluding evidence of conspiracy where no claim was pleaded).

       6. USI Cannot Call Witnesses That Were Not Properly Disclosed or
          Identified to Discovery

       Overlooking discovery rules, USI unexpectedly added two witnesses, Paul

Hanig and Tracy Moore, for the first time on its witness list in the Proposed Pretrial

Order, leaving Lockton and The Former Employees without an opportunity to

examine these USI employees. To ensure fairness, Hanig and Moore should not be

called to testify.

       Federal Rule of Civil Procedure 37(c)(1) is unambiguous: a lack of disclosure

results in no testimony. Likewise, Federal Rule of Civil Procedure 26 requires

parties disclose all individuals “likely to have discoverable information . . . that the

disclosing party may use to support its claims or defenses, unless the use would be

solely for impeachment.” Fed. R. Civ. P. 26(a)(1)(A)(i); Nance v. Ricoh Elecs., Inc.,

381 F. App’x 919, 922–23 (11th Cir. 2010) (holding trial court properly struck

declaration of undisclosed witness). USI did not identify Hanig and Moore in their

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initial disclosures (2019 Case, Doc. 52), or in any of their updated disclosures, nor

did USI otherwise identify these witnesses during the discovery process, such as in

interrogatory responses, as witnesses with knowledge relevant to this dispute.

      USI’s introduction of these witnesses at such a late stage is purely

gamesmanship and should not be rewarded. Lockton and The Former Employees

were deprived of their chance to depose Hanig and Moore, so their testimony should

be excluded. Echoing the decision in ChemFree Corp. v. J. Walter, Inc., “[b]ecause

[USI] did not disclose [Hanig] and [Moore] in their discovery disclosures, [Lockton

and The Former Employees] w[ere] not given the opportunity to depose [them] on

the issues related to this case.” No. 1:04-CV-3711-JTC, 2009 U.S. Dist. LEXIS

131044, at *8-9 (N.D. Ga. May 26, 2009). Accordingly, USI should be precluded

from calling Hanig and Moore as witnesses.

      Respectfully submitted this 12th day, April 2023.

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                        RULE 7.1.D CERTIFICATE

     The undersigned counsel certifies that this document has been prepared with

Times New Roman 14-point font in accordance with Local Rule 5.1.C.


                                    /s/ David M. Pernini
                                    DAVID M. PERNINI




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                        CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on this day, I electronically filed the foregoing

SOUTHEAST          SERIES      OF      LOCKTON          COMPANIES,          LLC’S

CONSOLIDATED MOTIONS IN LIMINE with the Clerk of Court using the

CM/ECF system, which will automatically send electronic notification to all counsel

of record.

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      Respectfully submitted this 12th day, April 2023.


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